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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                       )
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

  JOINT STATUS REPORT OF UNITED STATES, THE FEDERAL SAVINGS BANK,
        NATIONAL BANCORP HOLDINGS, AND CHRISTOPHER DOYLE

       The United States of America and Petitioners The Federal Savings Bank (TFSB),

National Bancorp Holdings (NBH), and Christopher Doyle, by and through their respective

counsel, respectfully submit this status report to apprise the Court of the status of their

negotiations.

       Since the government’s and petitioners’ May 16, 2019, joint status report (Dkt. No. 76),

counsel for the United States and for Petitioners TFSB and NBH have continued discussions

regarding settlement. As reported, TFSB/NBH obtained appraisals of the properties at issue.

However, due to a significant difference between appraisals obtained by TFSB/NBH and the

government, the United States has undertaken to obtain additional appraisals to facilitate the

discussions. The United States anticipates that its appraisals will be completed on or before July

5, 2019.

       The United States and Petitioners TFSB, NBH, and Doyle agree that the additional

appraisals sought by the government will provide information relevant to the evaluation of the

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claims, and will facilitate discussions regarding potential resolutions. In light of the July 4

holiday, the parties recommend filing a further status report by July 10, 2019.

       Counsel for the United States has conferred with counsel for Petitioners TFSB, NBH and

Doyle, who concur in this report and have authorized the Government counsel to file it as a Joint

Status Report.

                                               Respectfully submitted,


                                               JESSIE K. LIU
                                               United States Attorney

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2019, I have provided notice of the forgoing through the

Court’s Electronic Filing System to such counsel of record or pro se litigants as have consented

to accept service through such means. I have also transmitted a copy of this filing via electronic

mail to the following, who do not appear to have registered for notice through the Court’s

Electronic Filing System or who have not filed an appearance in this matter:

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